CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 1 of 54




                     (;+,%,716

                 )LOHG8QGHU6HDO
     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 2 of 54


                                                                           1
·1· · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · · · DISTRICT OF MINNESOTA

·3· · · · · · Case No. 0:18-cv-01776-JRT-HB

·4

·5

·6· --------------------------------------------

·7· IN RE PORK ANTITRUST LITIGATION

·8· This Document Relates to: All Actions

·9· --------------------------------------------

10

11

12

13

14· · · · · · · · ·HIGHLY CONFIDENTIAL

15· · · · REMOTE TESTIMONY OF DR. RUSSELL MANGUM

16· · · · · · JULY 13, 2022 - 9:00 A.M. PDT

17

18

19

20

21

22

23

24· · · JOB NO. 2022-850362

25
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 3 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           109
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · affiliated, meaning they have no business

·3· · relationship or interaction with them

·4· · ever?

·5· · · · · Q· · ·You agree, Dr. Mangum, that

·6· · there are independent hog growers who sell

·7· · hogs to the defendants that the defendants

·8· · and alleged co-conspirators this case do

·9· · not own, right?

10· · · · · A· · ·Oh, oh, yes.· I talk about

11· · that in my report.

12· · · · · · · · In other words, I could only

13· · say no to that if I thought that the

14· · packer market was 100 percent vertically

15· · integrated, which clearly it's not, as I

16· · talk about in my report.· There are

17· · independent growers.

18· · · · · Q· · ·And many of the defendants

19· · and alleged co-conspirators this case are

20· · not anywhere near a hundred percent

21· · vertically integrated, right?

22· · · · · · ·MR. POUYA:· Objection to form.

23· · · ·Vague.· Lacks foundation.

24· · · · · · ·THE WITNESS:· I don't believe

25· · · ·that the defendants which are


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 109
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 4 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           110
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·packers and sell things in the pork

·3· · · ·market, I don't think any of them

·4· · · ·are close to a hundred percent

·5· · · ·vertically integrated in the formal

·6· · · ·sense they own and sell just for

·7· · · ·themselves.· No, I don't think

·8· · · ·there's any one close to

·9· · · ·100 percent.

10· · BY MR. REISER:

11· · · · · Q· · ·Some of them are close to a

12· · hundred percent in terms of buying hogs

13· · from somebody other than their company,

14· · right?

15· · · · · A· · ·I think so.· But it gets

16· · back, you know, to the questions you were

17· · asking me about percentages for certain

18· · entities, and if I would be surprised that

19· · number is for Hormel and Tyson, and I just

20· · don't have those numbers.

21· · · · · · · · But I do know that, as I

22· · describe in my report, there are packers

23· · that are much more heavily vertically

24· · integrated and some that are not very

25· · vertically integrated at all -- formally


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 110
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 5 of 54
   In Re - Pork Antitrust Litigation                                    Russell Mangum
                                       Highly Confidential                July 13, 2022

                                                                               111
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · by the idea of, you know, owning, raising

·3· · for themselves, and then basically

·4· · internally supplying the hogs for

·5· · themselves when they, you know, make

·6· · things to sell in the pork market.

·7· · · · · Q· · ·Do the independent hog

·8· · growers who sell hogs to the defendants

·9· · that they otherwise don't own, sell to

10· · just one defendant?

11· · · · · · ·MR. POUYA:· Objection to form.

12· · · ·Vague.· Foundation.· Compound.

13· · · · · · ·THE WITNESS:· There can be

14· · · ·practices where you might say for a

15· · · ·period of time it could be that a

16· · · ·relationship -- might look like,

17· · · ·this farmer, this grower, really

18· · · ·mainly works with that defendant,

19· · · ·but there is a lot of swapping.                     I

20· · · ·would not generally say that we get

21· · · ·these direct match ups that kind of

22· · · ·retain for long time.· But it

23· · · ·depends on the practices.

24· · · · · · ·As I mentioned in my report,

25· · · ·you have got location issues about


   www.LexitasLegal.com/Premier             Lexitas              888-267-1200 Page 111
                                                                                          YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 6 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           112
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·depending on where a grower is and

·3· · · ·there are shipping costs involved

·4· · · ·and who are the possible purchasers

·5· · · ·of the hogs, it's not as if they

·6· · · ·have equal access economically,

·7· · · ·even, to be selling to everyone.

·8· · · · · · ·But I do understand that it's

·9· · · ·not uncommon for farmers to have

10· · · ·more than one packer that they

11· · · ·would sell to.

12· · BY MR. REISER:

13· · · · · Q· · ·What do you mean by

14· · "swapping"?

15· · · · · · · · You just referred to swapping

16· · in your answer.· Can you elaborate on what

17· · that means?

18· · · · · A· · ·I don't remember where I used

19· · the word swapping, but I think I just

20· · meant that there might be a practice where

21· · some farmer sells to so and so and they

22· · have a practice for a while, and then they

23· · make a change.

24· · · · · · · · And then it might be that

25· · they add someone else, retaining the


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 112
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 7 of 54
   In Re - Pork Antitrust Litigation                                    Russell Mangum
                                       Highly Confidential                July 13, 2022

                                                                               113
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · original purchaser or maybe they make a

·3· · switch.· I think that's all I meant.                   I

·4· · don't remember where I used that in my

·5· · past answer.

·6· · · · · Q· · ·You mentioned the Maschhoffs

·7· · earlier, do you remember mentioning that

·8· · company?

·9· · · · · A· · ·Yeah, I remember it was an

10· · answer to a question about growers, right?

11· · -- who are the entities, the larger

12· · growers that raise hogs and sell the hogs

13· · you call market hogs.

14· · · · · Q· · ·And the Maschhoffs is one of

15· · the larger entities that sells and raise

16· · hogs; is that right?

17· · · · · A· · ·I do think of them as a

18· · prominent entity.· I don't remember the

19· · relative sizes.· I haven't memorized, that

20· · as far -- if I hear -- I was saying

21· · "Maschhoff," so I am obviously missing a

22· · consonant in there, if you're better

23· · informed than I am.

24· · · · · · · · But I do know they show up in

25· · documents and in the hog growing industry


   www.LexitasLegal.com/Premier             Lexitas              888-267-1200 Page 113
                                                                                          YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 8 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           147
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·at 11:16 a.m. and Testimony

·3· · · ·Recommenced at 11:32 a.m. PDT.)

·4· · · · · · ·THE VIDEOGRAPHER:· The time is

·5· · · ·11:32 a.m.· We are now back on the

·6· · · ·record.

·7· · BY MR. REISER:

·8· · · · · Q· · ·Welcome back, Dr. Magnum.

·9· · · · · · · · Did you discuss the substance

10· · of your testimony with anyone during the

11· · break?

12· · · · · A· · ·I did not.

13· · · · · Q· · ·You're opining in this case

14· · that there was a conspiracy to reduce the

15· · supply of pork, correct?

16· · · · · · ·MR. POUYA:· Objection to form.

17· · · · · · ·THE WITNESS:· I don't have any

18· · · ·legal opinions and I don't have the

19· · · ·opinion that there was a conspiracy

20· · · ·or violation of Sherman Act, for

21· · · ·example.

22· · · · · · ·My opinions are stated in my

23· · · ·expert report but I don't have that

24· · · ·liability opinion.

25· · BY MR. REISER:


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 147
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 9 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           148
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · · · Q· · ·You're opining that --

·3· · withdrawn.

·4· · · · · · · · You're accepting that

·5· · liability will be established on a

·6· · conspiracy to reduce the supply of pork

·7· · and opining on what the damage is for such

·8· · a conspiracy would be, correct?

·9· · · · · · ·MR. POUYA:· Objection.

10· · · ·Misstates the testimony.· Lacks

11· · · ·foundation.· Misstates the report.

12· · · · · · ·THE WITNESS:· My report does

13· · · ·list all my opinions.· But I

14· · · ·understand that there's alleged to

15· · · ·be one conspiracy to raise prices,

16· · · ·right? -- I know the mechanism as I

17· · · ·describe in my report related to

18· · · ·that relates to output and

19· · · ·quantities.

20· · · · · · ·But that's my understanding of

21· · · ·the allegations is that a

22· · · ·conspiracy -- price-fixing

23· · · ·conspiracy.· I am assuming there

24· · · ·will be a finding of liability for

25· · · ·that conspiracy.


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 148
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 10 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           149
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · BY MR. REISER:

·3· · · · · Q· · ·What is your understanding of

·4· · the objects of the conspiracy that you are

·5· · assuming liability will be established as

·6· · to for purposes of your report?

·7· · · · · A· · ·I don't understand that

·8· · question.

·9· · · · · Q· · ·What part of it don't you

10· · understand?

11· · · · · A· · ·Well, I don't know what you

12· · mean "objects."· Like, I am assuming

13· · liability and you're wanting to know about

14· · the objects of that liability.· I don't

15· · understand what you're talking about.

16· · · · · Q· · ·Well, what is the conspiracy

17· · for which you're assuming liability will

18· · be established for purposes of your

19· · report?

20· · · · · · ·MR. POUYA:· Objection.· Asked

21· · · ·and answered.

22· · · · · · ·THE WITNESS:· Yeah, that the

23· · · ·conspiracy, as I understand, comes

24· · · ·from the Complaint, right? -- and

25· · · ·from the arguments in the


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 149
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 11 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           180
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·Lacks foundation.· Legal

·3· · · ·conclusion.

·4· · · · · · ·THE WITNESS:· No.· This cannot

·5· · · ·be taken all by itself as a full

·6· · · ·description of a supposed

·7· · · ·conspiracy to reduce pork.

·8· · · · · · ·My understanding is the

·9· · · ·conspiracy was to raise prices, the

10· · · ·price-fixing conspiracy, which

11· · · ·included many elements.

12· · · · · · ·This is one part of what I

13· · · ·understand is alleged, and I

14· · · ·describe it here.· But it's not the

15· · · ·full description of a separate

16· · · ·conspiracy.· There is one alleged

17· · · ·conspiracy to raise prices related

18· · · ·to information sharing, right? --

19· · · ·also related to output.

20· · · · · · ·So there's many elements of

21· · · ·it.· But you can't break apart each

22· · · ·element and then want to call that

23· · · ·a separate conspiracy.

24· · BY MR. REISER:

25· · · · · Q· · ·I understand what you are


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 180
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 12 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           181
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · saying.

·3· · · · · · · · But you're accepting that

·4· · liability will be established for a

·5· · conspiracy that includes a reduction of

·6· · the number of hogs entering the

·7· · marketplace, right?

·8· · · · · · ·MR. POUYA:· Objection to form.

·9· · · · · · ·THE WITNESS:· I think you are

10· · · ·trying to expands what I have

11· · · ·assumed.· I think you are trying to

12· · · ·expand that there will be a finding

13· · · ·of liability and it must be based

14· · · ·on parts A, B, C, and D.· I haven't

15· · · ·gone that far.

16· · · · · · ·I think there will be a

17· · · ·liability finding that sufficient

18· · · ·elements were necessary for a trier

19· · · ·of fact to find liability.                   I

20· · · ·understand what the Complaint says,

21· · · ·and the elements of the conspiracy.

22· · · ·I have described them.

23· · · · · · ·But I think you are trying to

24· · · ·move beyond my assumption to

25· · · ·include necessary elements, and,


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 181
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 13 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           182
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·you know, what, I don't have a

·3· · · ·legal opinion about what it means.

·4· · · ·But what legally would be needed

·5· · · ·for a finding of liability, I am

·6· · · ·assuming it was determined that was

·7· · · ·met and a finding of liability

·8· · · ·existed.

·9· · BY MR. REISER:

10· · · · · Q· · ·What is the "that" that was

11· · in that for a finding of liability that

12· · you are referring to?

13· · · · · A· · ·It's something I don't have a

14· · legal opinion on.

15· · · · · Q· · ·So what is the purpose of

16· · paragraph 74 through 79 of your report?

17· · · · · A· · ·Well, 74 through 79 talk

18· · about one element that's parts of my --

19· · got a paragraph 73, labeled with an F.

20· · It's got sub elements in it.

21· · · · · · · · And so -- by the way,

22· · paragraph 73 which is labeled F, is a sub

23· · element of other analysis I do.· So it's

24· · covering one of the elements that I

25· · understand from reading the Complaint of


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 182
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 14 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           183
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · saying what's been described as the

·3· · conspiracy and I am giving information.

·4· · · · · · · · In this case, it relates to

·5· · number of hogs in the marketplace, right?

·6· · -- this is paragraph 74 through 79.

·7· · · · · Q· · ·And if there was no reduction

·8· · of hogs entering the marketplace, is it

·9· · your testimony that that would have no

10· · impact on your opinions in this case?

11· · · · · · ·MR. POUYA:· Objection to form.

12· · · · · · ·THE WITNESS:· I don't have an

13· · · ·opinion.· You're asking me is it my

14· · · ·opinion that I can take out an

15· · · ·element and that must necessarily

16· · · ·change a finding of liability, and

17· · · ·I think that's just wrong.· Because

18· · · ·I have assumed that someone has

19· · · ·already determined there were

20· · · ·enough elements found for

21· · · ·liability.

22· · · · · · ·And then I have looked at the

23· · · ·damages, right? -- a pricing model,

24· · · ·one of the things I do is I look at

25· · · ·the effects of that.· I believe my


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 183
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 15 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           235
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · general description, right.· I do talk

·3· · about it as a way it's feasible.

·4· · · · · · · · But in my report is talk

·5· · about the idea that -- there could be

·6· · reasons why you would see exports growing

·7· · relative to domestic.· But -- the

·8· · implication would be that the prices that

·9· · can be earned, and I do show -- I do

10· · identify evidence that was not the case,

11· · that even though values were lower

12· · relative, right? -- that you still had

13· · increases in pork -- for exports, that is;

14· · pork exports.

15· · · · · · · · So I do talk about that in my

16· · report.

17· · · · · Q· · ·Do you have an opinion about

18· · how much pork exports were increased?

19· · · · · · ·MR. POUYA:· Same objection.

20· · · ·Limited to his opinions that have

21· · · ·been put forth and relied upon for

22· · · ·the purpose of his class

23· · · ·certification report.

24· · · · · · ·THE WITNESS:· I do not have a

25· · · ·quantification of the amount by


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 235
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 16 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           236
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·which exports were increased

·3· · · ·relative to a competitive volume

·4· · · ·that I rely on for the opinions I

·5· · · ·have expressed in my report.

·6· · BY MR. REISER:

·7· · · · · Q· · ·I take it, then, you are not

·8· · opining for purposes of your current

·9· · report, Mangum Exhibit 1, what exports

10· · would have been, if not for the alleged

11· · conspiracy, right?

12· · · · · · ·MR. POUYA:· Objection.

13· · · ·Foundation.

14· · · · · · ·THE WITNESS:· Yes.· If your

15· · · ·word means "what" means a quantity.

16· · · ·Like I said, I don't have an

17· · · ·analysis that resulted in a

18· · · ·quantity of but-for pork exports

19· · · ·that I am relying on for the

20· · · ·purposes of my expert report at

21· · · ·this point.

22· · BY MR. REISER:

23· · · · · Q· · ·At this point, are you

24· · opining that every export of pork from

25· · 2009 to 2018 was part of an


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 236
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 17 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           237
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · anti-competitive conspiracy to increase

·3· · the price of pork in the United States?

·4· · · · · A· · ·No.

·5· · · · · Q· · ·As part of your analysis in

·6· · this case, did you consider the economic

·7· · climate for hog production leading up to

·8· · 2009?

·9· · · · · · ·MR. POUYA:· Objection, form.

10· · · ·Foundation.

11· · · · · · ·THE WITNESS:· I do talk about

12· · · ·the industry before 2009.· I talk

13· · · ·about historical trends, you know.

14· · · ·There are sections in my report

15· · · ·that talk about it.· And I did

16· · · ·study that industry to inform me

17· · · ·about at least the elements that I

18· · · ·included in my report.

19· · BY MR. REISER:

20· · · · · Q· · ·What is your understanding of

21· · what plaintiffs alleged a conspiracy

22· · period in this case to be?

23· · · · · A· · ·It's my understanding that,

24· · as I describe in my report, the conspiracy

25· · period goes from January in 2009 and it


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 237
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 18 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           270
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·But I have looked at costs, right?

·3· · · ·-- and the idea of raising hogs and

·4· · · ·efficiency of raising hogs and the

·5· · · ·cost of vaccines, the cost of not

·6· · · ·having the vaccine.· All those are

·7· · · ·captured by the costs in the data I

·8· · · ·have included.

·9· · · · · · ·But I don't have a specific

10· · · ·analysis of circovirus by itself

11· · · ·that I am relying on.

12· · BY MR. REISER:

13· · · · · Q· · ·So you don't think the impact

14· · of the widespread of availability of the

15· · circovirus in mid-2007 is relevant to any

16· · of the opinions you are offering in this

17· · case?

18· · · · · · ·MR. POUYA:· Objection.

19· · · ·Misstates the testimony.

20· · · · · · ·THE WITNESS:· I actually said

21· · · ·the opposite.· I said it effects

22· · · ·costs.· I control costs.· It

23· · · ·increases productivity, right? --

24· · · ·and what it means to have expenses

25· · · ·and productivity and things for


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 270
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 19 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           271
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·making hogs flowing through the

·3· · · ·pork.· It's the opposite of what

·4· · · ·you said.

·5· · · · · · ·I have included variables that

·6· · · ·I think capture that in my

·7· · · ·analysis.

·8· · BY MR. REISER:

·9· · · · · Q· · ·Did you control for

10· · circovirus specifically in your model?

11· · · · · A· · ·I did not.

12· · · · · Q· · ·Why not?

13· · · · · A· · ·I don't believe that it needs

14· · its own separate controlling for that

15· · virus in my model.

16· · · · · Q· · ·And why not?

17· · · · · A· · ·You know, I think you have

18· · got a theory you think it does.· But I am

19· · not going to -- if I don't believe

20· · something, you asking why not, right? --

21· · isn't something I am going to answer.

22· · Because I don't know where you are going.

23· · · · · · · · I think you have a theory and

24· · evidence to come to a conclusion.· I think

25· · you're somehow wanting me to engage and


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 271
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 20 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           272
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · outline that and come to a conclusion.

·3· · But you asked if I did something and I

·4· · didn't.· I think I got the proper

·5· · variables, but I can't answer a why not

·6· · question.· And I don't know what it means

·7· · to do that.

·8· · · · · Q· · ·I am just trying to

·9· · understand what your analysis is and isn't

10· · and I take it from your answer that

11· · circovirus vaccine availability was not

12· · one of the variables you considered but

13· · you're testifying now you didn't believe

14· · and didn't do so.

15· · · · · · · · Did I get anything wrong

16· · there?

17· · · · · · ·MR. POUYA:· Objection.

18· · · ·Misstates the testimony.

19· · · · · · ·THE WITNESS:· I don't believe

20· · · ·I need a separate circovirus

21· · · ·variable in my analysis.· That part

22· · · ·is correct.

23· · · · · · ·That doesn't mean that I

24· · · ·haven't controlled for things that

25· · · ·effect the costs productivity, and


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 272
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 21 of 54
   In Re - Pork Antitrust Litigation                                    Russell Mangum
                                       Highly Confidential                July 13, 2022

                                                                               273
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·the raising hog process, all of

·3· · · ·that.· That's not true.· I have

·4· · · ·control for that but I don't

·5· · · ·believe I need also a separate

·6· · · ·variable for circovirus vaccine

·7· · · ·availability.

·8· · BY MR. REISER:

·9· · · · · Q· · ·What impact, if any, did the

10· · global financial crises that began in 2008

11· · have on hog growing?

12· · · · · · ·MR. POUYA:· Objection.

13· · · ·Foundation.

14· · · · · · ·THE WITNESS:· I don't have an

15· · · ·opinion specifically.· I have not

16· · · ·conducted an analysis about the

17· · · ·financial crisis and its impact on

18· · · ·the hog market specifically to form

19· · · ·my opinions.

20· · · · · · ·I have control for the

21· · · ·elements which define large

22· · · ·rescissions, great recessions,

23· · · ·financial crisis, involving demand,

24· · · ·involving what it did to costs.                     I

25· · · ·control for that.· Right?· CPI.


   www.LexitasLegal.com/Premier             Lexitas              888-267-1200 Page 273
                                                                                          YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 22 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           274
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · · · · ·But I don't have an analysis

·3· · · ·that specifically looks at the hog

·4· · · ·market.

·5· · BY MR. REISER:

·6· · · · · Q· · ·Is it fair to say that the

·7· · global financial crisis that began in 2008

·8· · led to a weaker demand for pork?

·9· · · · · · ·MR. POUYA:· Objection.

10· · · ·Foundation.

11· · · · · · ·THE WITNESS:· Well, the global

12· · · ·financial crisis, part of that

13· · · ·relates to things such as overall

14· · · ·demand, right? -- GDP, I control

15· · · ·for.· Right.· I got controls for

16· · · ·price level inflation.

17· · · · · · ·I believe that there's effects

18· · · ·from whether it's within the

19· · · ·context of large swings that were

20· · · ·noticed during the financial crisis

21· · · ·or the Great Recession, before that

22· · · ·there was expansory period, right?

23· · · ·-- there's a recovery period

24· · · ·afterwards.· I control for those

25· · · ·macroeconomic variables in my


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 274
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 23 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           281
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·therefore, it must be illegal, and,

·3· · · ·a-ha, I found someone that said

·4· · · ·there should be less hogs,

·5· · · ·therefore, Mangum is wrong.

·6· · · · · · ·It's completely incomplete

·7· · · ·characterization.· It's not about

·8· · · ·any liquidation that's bad.· It's

·9· · · ·not about a reduction or an

10· · · ·increase in hogs or increase in

11· · · ·pork production.· It's the levels

12· · · ·relevant to what they would have

13· · · ·been.

14· · · · · · ·So you can't look at this and

15· · · ·say this is necessarily any

16· · · ·information that's relevant for the

17· · · ·analysis I have done.· It seems

18· · · ·inconsistent -- I'm sorry, it seems

19· · · ·consistent -- but it isn't enough

20· · · ·information to be useable for the

21· · · ·purposes that I form my opinions.

22· · BY MR. REISER:

23· · · · · Q· · ·You are not opining in this

24· · case, though, that the reduction or

25· · increase -- withdrawn.


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 281
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 24 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           282
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · · · · · · You are not opining in this

·3· · case what -- how many sows or hogs there

·4· · would have been, if not for the alleged

·5· · conspiracy, right?

·6· · · · · · ·MR. POUYA:· Same objection as

·7· · · ·before.· I will instruct the

·8· · · ·witness to testify as to what he's

·9· · · ·relied upon for purposes of class

10· · · ·certification.

11· · · · · · ·THE WITNESS:· I don't have any

12· · · ·analysis of a but-for number of

13· · · ·hogs that I rely on for my opinions

14· · · ·in this case.

15· · BY MR. REISER:

16· · · · · Q· · ·Are you aware that from 2007

17· · to 2009, it was one of the worst markets

18· · years for hog growers ever?

19· · · · · · · · Are you aware of that?

20· · · · · · ·MR. POUYA:· Objection.· Form.

21· · · ·Foundation.

22· · · · · · ·THE WITNESS:· I am aware of

23· · · ·the trends in feed costs, and aware

24· · · ·of the trends in demand in the

25· · · ·economy.· I know it was a very


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 282
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 25 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           283
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·tough time for the, generally --

·3· · · ·for the economy, generally.

·4· · · · · · ·So I am also aware that what

·5· · · ·was experienced in the pork

·6· · · ·industry isn't necessarily immune

·7· · · ·or different from many other

·8· · · ·markets, many other -- you know,

·9· · · ·markets and sectors of the economy

10· · · ·generally.

11· · BY MR. REISER:

12· · · · · Q· · ·Did you consider for purposes

13· · of your analysis in this case that the

14· · pork industry in 2009 was undergoing the

15· · longest and deepest economic losses in

16· · 20 years?

17· · · · · · ·MR. POUYA:· Objection.· Form.

18· · · ·Foundation.

19· · · · · · ·THE WITNESS:· The demand and

20· · · ·the costs and those elements which

21· · · ·are descriptive of things like

22· · · ·recessions, even financial crisis,

23· · · ·those are, yes, all controlled for

24· · · ·in my model -- in my pricing model,

25· · · ·when I evaluated prices in this


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 283
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 26 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           296
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·high, and they also don't fully

·3· · · ·react when costs are dropping.

·4· · · · · · ·And so they have got a longer

·5· · · ·term growth.· And it could be

·6· · · ·difficult, but because of the

·7· · · ·symmetric nature how that happens,

·8· · · ·it's not as straightforward as

·9· · · ·putting on blinders and say let's

10· · · ·just decide about today or last

11· · · ·year and ignore what's been

12· · · ·experienced.

13· · · · · · ·So you need to know -- you

14· · · ·need to know more about the

15· · · ·industry to make a facile

16· · · ·conclusion about I see a number

17· · · ·that must mean A.· It could be more

18· · · ·complicated that that economically.

19· · BY MR. REISER:

20· · · · · Q· · ·And one of the things that is

21· · relevant to the economics of it would be

22· · the fact there are more hogs because a

23· · vaccine that is reducing hog mortality,

24· · right?

25· · · · · · ·MR. POUYA:· Objection.


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 296
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 27 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           297
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·Speculation.· Foundation.

·3· · · · · · ·THE WITNESS:· I am not sure I

·4· · · ·understood that.

·5· · · · · · ·Are you suggesting that

·6· · · ·vaccine existence might have

·7· · · ·contributed to this the profit

·8· · · ·numbers that are being mentioned

·9· · · ·here?

10· · BY MR. REISER:

11· · · · · Q· · ·I'm asking whether it could

12· · have.

13· · · · · · ·MR. POUYA:· Objection.

14· · · ·Speculation.· Foundation.

15· · · · · · ·THE WITNESS:· The economy

16· · · ·markets, they don't offer in a

17· · · ·fixed static mode.· If someone

18· · · ·realizes they are getting more out

19· · · ·of something, then they adjust the

20· · · ·production process.

21· · · · · · ·It would be economically

22· · · ·irrational to say it doesn't matter

23· · · ·what happens, I just keep doing

24· · · ·what I did yesterday out of

25· · · ·inertia, right?· Because, of


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 297
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 28 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           298
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·course, that could end up with,

·3· · · ·Wow, I have way too many hogs

·4· · · ·because I didn't have, you know,

·5· · · ·nearly as many that let's say died

·6· · · ·because of a virus.

·7· · · · · · ·The rational thing would be to

·8· · · ·automatically adjust, right? -- if

·9· · · ·you find something, it's like when

10· · · ·you buy a new machine that makes

11· · · ·product twice as many, you wouldn't

12· · · ·say well, for years I have been

13· · · ·running my machine for certain

14· · · ·hours a day.· Someone will say no,

15· · · ·we can react because something has

16· · · ·changed what it is going to do is

17· · · ·decrease our machinery costs per

18· · · ·unit.· So it's reflected in costs,

19· · · ·right.

20· · · · · · ·But, yeah, it would be

21· · · ·irrational to think statically like

22· · · ·you suggest.

23· · BY MR. REISER:

24· · · · · Q· · ·Do you know one way or the

25· · other whether hog growers anticipated the


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 298
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 29 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           314
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · question again, I have seen it.· Both up

·3· · and down but I have seen them.

·4· · · · · Q· · ·You have seen that they

·5· · profited on the margin between the higher

·6· · price for pork versus the higher price

·7· · they paid for the primary input which is

·8· · the hog?

·9· · · · · · ·MR. POUYA:· Objection.

10· · · ·Foundation.

11· · · · · · ·THE WITNESS:· What I have seen

12· · · ·is that prices and costs move

13· · · ·together.· Whether costs are

14· · · ·dropping and prices are dropping or

15· · · ·costs are going up and prices are

16· · · ·going up.

17· · · · · · ·That's where I noticed I have

18· · · ·seen that relationship.· So there's

19· · · ·a response that when costs go up,

20· · · ·it also means prices tend to go up.

21· · BY MR. REISER:

22· · · · · Q· · ·But you haven't seen any

23· · indication in anything you have analyzed

24· · for purposes of your report in this case,

25· · Mangum Exhibit 1, that hog growers --


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 314
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 30 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           315
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · withdrawn.

·3· · · · · · · · You haven't seen any

·4· · indication in anything you have analyzed

·5· · for purposes of your report in this case,

·6· · Mangum Exhibit 1, that hog packers were

·7· · trying to buy hogs at higher prices so

·8· · that they could re-sell pork at higher

·9· · prices?

10· · · · · · ·MR. POUYA:· Objection --

11· · · ·objection.· Form.· Misstates the

12· · · ·testimony.

13· · · · · · ·THE WITNESS:· I don't know

14· · · ·what that means, trying to buy at

15· · · ·higher prices.· Is that like me

16· · · ·going to Thrifty and saying no, no,

17· · · ·no, I don't want to buy the candy

18· · · ·bar for 1.25, can I pay 1.50.

19· · · · · · ·Nobody tries to buy at higher

20· · · ·prices.· But they might say, well,

21· · · ·the thing I usually buy, the price

22· · · ·is higher, am I willing to pay that

23· · · ·because I believe the market

24· · · ·supports a higher price at my end?

25· · · ·And I have seen that's what's


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 315
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 31 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           316
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·happened.

·3· · · · · · ·Costs -- costs aren't always

·4· · · ·the same here.· They move quite a

·5· · · ·bit, up and down, and we also see

·6· · · ·changes in prices up and down.

·7· · BY MR. REISER:

·8· · · · · Q· · ·To your knowledge, have

·9· · plaintiffs alleged in this case that

10· · packers were buying hogs at higher prices

11· · so they could re-sell pork at higher

12· · prices?

13· · · · · A· · ·I don't see that as an

14· · allegation.· That's the reality of

15· · economics.· That's what happens.

16· · People -- it's buy low and sell high.

17· · · · · · · · Notice no one ever talks

18· · whether there's an increase of those.

19· · It's buy low and sell high.· Right?· So it

20· · wouldn't be an allegation that that

21· · people, Hm, prices are higher, but they

22· · have been willing to buy anyway because

23· · they believe they can raise prices.

24· · · · · · · · That wouldn't be an

25· · allegation, that would be the way markets


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 316
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 32 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           433
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · small do they make, if at all.· They tend

·3· · to send these sets, how many medium, how

·4· · many small, how many larges.· Right.

·5· · · · · · · · Just because you say, well, I

·6· · only have out of every 50 shirts I send, I

·7· · am going to send one or two extra-extra

·8· · small, there is not that many people.· If

·9· · I am wondering about how much do I import

10· · versus export -- I might have the same

11· · level of demand in and outside the US, I

12· · wouldn't use the highly just because it's

13· · small.

14· · · · · · · · That's what I thought of when

15· · you mentioned this fringe pork products.

16· · It could be relatively very small, but

17· · that doesn't necessarily mean that

18· · comparing across countries, we call it

19· · highly versus not highly in the US versus

20· · the foreign country.

21· · · · · · · · It depends which country.

22· · There are sometimes there's a product that

23· · is desirable more in other products.· The

24· · countries that are big that I talk about,

25· · by the way, for exporting, tend to be also


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 433
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 33 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           434
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · in North America.· So we haven't got the

·3· · same type of big difference in demands,

·4· · than we might have if we have if it's

·5· · something like in Asian country.· So all

·6· · that comes in the mix.

·7· · · · · Q· · ·China is one of the biggest

·8· · exporting -- withdrawn.

·9· · · · · · · · China is one of the big

10· · countries that imports US pork, right?

11· · · · · A· · ·It is a big country

12· · regardless of what we are talking about

13· · China is a big country.· I know I have a

14· · table where I talk about the large volumes

15· · or at least I kind of -- a graph.· Well,

16· · if we are exporting, where is it going?

17· · And China is on there.· If I recall, there

18· · were other countries that were bigger at

19· · least for a large portion of the time

20· · period.

21· · · · · Q· · ·Did you consider the fact

22· · that in China, pork hearts, tongue,

23· · stomachs, and entrails are part of their

24· · culinary culture again --

25· · · · · · · · (Simultaneous Crosstalk.)


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 434
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 34 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           435
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · · · A· · ·I am aware of that, yeah.

·3· · That's what I mentioned a while ago when I

·4· · said there's some products that in the US,

·5· · they are there, they are sold, but yet

·6· · they might be seen as more desirable or at

·7· · least more common type of consumed thing

·8· · in a foreign country.

·9· · · · · Q· · ·And your export analysis

10· · includes exports of hearts, tongues,

11· · stomach, entrails to China, right?

12· · · · · A· · ·Yes.· The documents and data

13· · I have referred to talk about pork product

14· · exports, right? -- all of them, which I

15· · don't limit, as I said, to the class

16· · products here.

17· · · · · Q· · ·For purposes of your expert

18· · analysis, did you request export data by

19· · cut so that you could do an analysis of

20· · whether the increased exports you observed

21· · were actually as to exports pertaining to

22· · the cuts that are at issue in the direct

23· · purchaser plaintiffs' Complaint?

24· · · · · · ·MR. POUYA:· Objection.· Vague.

25· · · ·Foundation.


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 435
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 35 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           436
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · · · · ·THE WITNESS:· I don't do a,

·3· · · ·quote/unquote, export analysis like

·4· · · ·you described.· I didn't set out to

·5· · · ·do an analysis to say what would

·6· · · ·have been the but-for level of

·7· · · ·exports.· As I mentioned before, I

·8· · · ·don't do that.

·9· · · · · · ·What I have pointed out is

10· · · ·statements by the defendants where

11· · · ·they are talking generally about

12· · · ·the US market, and they are saying

13· · · ·what we need to do -- one thing we

14· · · ·need to do get prices up is,

15· · · ·exports, exports, exports.

16· · · · · · ·They don't say, well, that may

17· · · ·be meaningless, unless we are

18· · · ·talking about tongues -- the things

19· · · ·I think your question suggest is

20· · · ·they only meant strange products.

21· · · ·That is not borne out with the

22· · · ·documents that I have pointed out

23· · · ·in my report.

24· · BY MR. REISER:

25· · · · · Q· · ·But it's fair to say that


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 436
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 36 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           445
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · · · · · · So it would be incomplete and

·3· · incorrect to say if I have -- just because

·4· · I have an exchange rates, let's say, that

·5· · makes a currency, you know, more favorable

·6· · in some foreign country to buy US

·7· · products.· If that doesn't rise to the

·8· · level of making the sale in that foreign

·9· · country, look, better than keeping it

10· · domestically, then that would be an

11· · irrelevant change in exchange rates.

12· · · · · · · · (Simultaneous Crosstalk.)

13· · · · · · · · So it's got to work to flow

14· · to the value to the people in the US to

15· · make that decision.· That's the analysis I

16· · have done.· And I wouldn't say that that's

17· · not irrelevant to the exchange rates.

18· · · · · · · · But the only way it would

19· · be -- the only way it would be relevant is

20· · if exchange rates in some foreign company

21· · changed such that demand for US exports

22· · increased so much that the value of the US

23· · exports to a US producer increased

24· · relative to keeping it domestically.· And

25· · that did not happen in the pork industry


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 445
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 37 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           446
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · as I highlighted.

·3· · · · · Q· · ·Are you aware that the US

·4· · over time in the 2009 to 2018 timeframe

·5· · has incentivized exports of agricultural

·6· · products?

·7· · · · · A· · ·Yes, I am aware of that.

·8· · · · · Q· · ·Including pork?

·9· · · · · A· · ·Yes.

10· · · · · Q· · ·Could the observed increase

11· · in exports of pork products be due to the

12· · facts of that incentives -- withdrawn.

13· · · · · · · · I am going to ask a coherent

14· · question.

15· · · · · · · · Could the increase in exports

16· · that you observed over time be caused by

17· · the US incentivizing exports of

18· · agricultural products, including pork?

19· · · · · · ·MR. POUYA:· Objection.

20· · · ·Foundation.· And speculation.

21· · · · · · ·THE WITNESS:· Well, incentives

22· · · ·are part of what could affect

23· · · ·demand, one thing.· But if the

24· · · ·incentives still don't rise the

25· · · ·value of exporting to be higher


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 446
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 38 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           447
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·than selling a product

·3· · · ·domestically, although they could

·4· · · ·happen, that wouldn't explain a

·5· · · ·shift.· Right?

·6· · · · · · ·Now, incentives might be

·7· · · ·something that simply means, well,

·8· · · ·let's tear down trade barriers.

·9· · · ·Like, maybe there was a way that

10· · · ·people would be willing to pay a

11· · · ·higher price, but they couldn't

12· · · ·legally buy it because of quota or

13· · · ·something like that.· Right.· That

14· · · ·might do it as well.

15· · · · · · ·But it's all got to flow down

16· · · ·to what is the value for domestic

17· · · ·producer of keeping it domestic or

18· · · ·selling it international.· So even

19· · · ·though you're talking about things

20· · · ·that might affect that value, I

21· · · ·went right to the value.· And

22· · · ·whatever it might have been that

23· · · ·affected the relative value, that's

24· · · ·what I looked at in my report.

25· · BY MR. REISER:


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 447
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 39 of 54
   In Re - Pork Antitrust Litigation                                    Russell Mangum
                                       Highly Confidential                July 13, 2022

                                                                               460
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·don't remember if that's the only

·3· · · ·place I would mention contracts.

·4· · · · · · ·I mean this is a place in my

·5· · · ·report where I talk about contract

·6· · · ·terms.· I list them.· But I do

·7· · · ·remember talking about contracts in

·8· · · ·other places.

·9· · · · · · ·For example, I have cited

10· · · ·contracts for having different

11· · · ·lengths of time.· I have cited

12· · · ·contracts for times where the

13· · · ·packers have the ability to buy the

14· · · ·option if the grower grossed more

15· · · ·than what is listed, they get to

16· · · ·buy it, they have that option.                      I

17· · · ·have listed examples when contracts

18· · · ·can be terminated early.

19· · · · · · ·So there are several other

20· · · ·places in my report where I cite to

21· · · ·contracts besides this location.

22· · BY MR. REISER:

23· · · · · Q· · ·It's not your opinion, is it,

24· · Dr. Mangum, that a packer that buys all of

25· · its hogs has exactly the same ability to


   www.LexitasLegal.com/Premier             Lexitas              888-267-1200 Page 460
                                                                                          YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 40 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           461
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · influence hog growing as one that does

·3· · not, is it?

·4· · · · · A· · ·I think you said -- I think

·5· · you want me to compare two things; a

·6· · packer that buys all of its hogs versus

·7· · one that does not.

·8· · · · · · · · I mean, compared to a packer

·9· · that buys 99 percent, 98 percent, and

10· · someone who buys a hundred percent, I

11· · might say I don't think there's a

12· · meaningful distinction.· I mean, the

13· · bigger comparison would be somebody who

14· · buys all their hogs and somebody who grows

15· · all their own, right? -- obviously not

16· · identical.

17· · · · · · · · But as I described and cited

18· · the Carleton and Perloff, depending on the

19· · terms of contracts which put a lot of

20· · requirements, they approximate -- they can

21· · approximate this formal vertical

22· · integration.

23· · · · · Q· · ·Depending on the contractual

24· · terms, right?

25· · · · · A· · ·Correct.· Depending on the


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 461
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 41 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           462
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · contractual terms.

·3· · · · · Q· · ·But you are not opining that

·4· · a contract stating what a packer will buy

·5· · and how it will buy it is the same as

·6· · owning the hog.

·7· · · · · · · · You're just saying it

·8· · approximates owning the hog, right?

·9· · · · · · ·MR. POUYA:· Objection.

10· · · ·Misstates the testimony.

11· · · ·Foundation.

12· · · · · · ·THE WITNESS:· Well, I don't

13· · · ·mean to give any assessment that is

14· · · ·a legal assessment or opinion.· So,

15· · · ·owning to some extent is a legal

16· · · ·thing.

17· · · · · · ·Economically, I do believe

18· · · ·it's feasible with contracts.· For

19· · · ·example, a contract that simply

20· · · ·says, you know, I get to buy from

21· · · ·you something in a year, right?· Or

22· · · ·maybe starting in a month for a

23· · · ·year with nothing else.· That's

24· · · ·very different than one that says,

25· · · ·I get to buy this from you but


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 462
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 42 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           469
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·to show that I understood that

·3· · · ·these are characteristics in the

·4· · · ·marketplace, that may not be --

·5· · · ·that I know from personal

·6· · · ·experience are not common across

·7· · · ·all markets.

·8· · · · · · ·But for my purposes to

·9· · · ·identify there are these contract

10· · · ·terms, they occur, there are

11· · · ·various elements, what I found and

12· · · ·highlighted met my needs for what I

13· · · ·was looking for the conclusions I

14· · · ·was coming to.

15· · BY MR. REISER:

16· · · · · Q· · ·Are you familiar with the

17· · Packers and Stockyards Act, Dr. Mangum?

18· · · · · A· · ·I know it exists.· I have

19· · heard reference to it, but I don't know

20· · much of the elements about it.

21· · · · · Q· · ·Did you know that it requires

22· · the USDA to maintain a library or catalog

23· · of each type of contract offered by

24· · packers to swine producers for the

25· · purchase of all or part of the producer's


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 469
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 43 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           470
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · production of swine?

·3· · · · · · ·MR. POUYA:· Objection.

·4· · · ·Foundation.

·5· · · · · · ·THE WITNESS:· Maybe.· I can't

·6· · · ·say for certain.· Like I said, I am

·7· · · ·not familiar with all the elements

·8· · · ·of that act.

·9· · BY MR. REISER:

10· · · · · Q· · ·Did you know that there's a

11· · USDA swine contract library that details

12· · all of the terms that we are talking about

13· · here --

14· · · · · · ·(Simultaneous Crosstalk.)

15· · · · · · ·MR. POUYA:· Same objections.

16· · · · · · ·THE WITNESS:· It could be.

17· · · ·But I have not relied on that

18· · · ·existence in forming the opinions

19· · · ·that I have rendered in my reports.

20· · BY MR. REISER:

21· · · · · Q· · ·And my question is, why did

22· · you rely on a selection of contracts as

23· · opposed to an inventory of all contracts?

24· · · · · · ·MR. POUYA:· Objection.· Asked

25· · · ·and answered.


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 470
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 44 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           471
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · · · · ·THE WITNESS:· Well, these

·3· · · ·contracts that I found met my needs

·4· · · ·of finding examples of the

·5· · · ·contracts that are out there.

·6· · · · · · ·I also know that it wasn't the

·7· · · ·only ones I found, that I was aware

·8· · · ·there were many like this from what

·9· · · ·I learned in discovery.

10· · · · · · ·As I said, I don't remember

11· · · ·what I knew of in the past about

12· · · ·this library or depository you

13· · · ·mentioned.· If it's only the type

14· · · ·of contracts that are listed, I

15· · · ·think having actual contracts, I

16· · · ·would look for those first just

17· · · ·myself, as opposed to looking for

18· · · ·templates of types of things.· But

19· · · ·I don't remember specifically what

20· · · ·is in the library.

21· · BY MR. REISER:

22· · · · · Q· · ·Well, the library contains

23· · all the terms.· I can show it to you, but

24· · that would be a waste of time because you

25· · haven't reviewed it and you will be


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 471
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 45 of 54
   In Re - Pork Antitrust Litigation                                    Russell Mangum
                                       Highly Confidential                July 13, 2022

                                                                               472
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · instructed not to talk about it.

·3· · · · · · · · Let me ask you this,

·4· · Dr. Mangum:· If you wanted to know how

·5· · common the terms that you're describing in

·6· · paragraph 111 are, why wouldn't you look

·7· · at a repository that collects and outlines

·8· · in very painstaking details all of those

·9· · terms?

10· · · · · A· · ·You know, I can't comment.                 I

11· · don't know what is in this depository

12· · you're talking about.· And I don't know

13· · that having something there would have

14· · given me any more substantiation for the

15· · conclusions I came to.

16· · · · · Q· · ·You don't know one way or the

17· · other, right?

18· · · · · A· · ·Nothing you have mentioned

19· · today leads me to think that I should have

20· · done something else compared to what I did

21· · to rely on for my opinions.

22· · · · · Q· · ·Let's pull up paragraph 147

23· · -- actually, we can just take down the

24· · report.· No need to do that.

25· · · · · · · · One of your opinions,


   www.LexitasLegal.com/Premier             Lexitas              888-267-1200 Page 472
                                                                                          YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 46 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           488
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·Foundation.

·3· · · · · · ·(Whereupon a Discussion is

·4· · · ·Held Off the Record.)

·5· · · · · · ·THE WITNESS:· Well, the pork

·6· · · ·market, which is US products only

·7· · · ·that I looked at, is not a function

·8· · · ·of what is exported.· It's a

·9· · · ·function of what remains

10· · · ·domestically in a marketplace.

11· · · · · · ·I have looked at in my model,

12· · · ·the pricing model, I have included

13· · · ·factors that supply and demand side

14· · · ·factors, that include the price of

15· · · ·domestic pork.· That's what I have

16· · · ·included.

17· · · · · · ·So I don't look at exports of

18· · · ·things that would affect markets

19· · · ·for exports.· I look at what is

20· · · ·going on domestically.

21· · BY MR. REISER:

22· · · · · Q· · ·You did nothing in your

23· · models to distinguish between defendants

24· · who purchase nearly all of their hogs from

25· · growers on the one hand from those who do


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 488
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 47 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           489
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · not on the other hand, right?

·3· · · · · · ·MR. POUYA:· Same objection.

·4· · · ·Vague.· Foundation.· Incomplete

·5· · · ·hypothetical.

·6· · · · · · ·THE WITNESS:· I think you are

·7· · · ·asking if there is a variable that

·8· · · ·somehow measures degree of vertical

·9· · · ·integration.· And no, I did not

10· · · ·include it.· I don't see as

11· · · ·relevant a vertical integration

12· · · ·variable in my pork market pricing

13· · · ·model.

14· · BY MR. REISER:

15· · · · · Q· · ·Your model evaluates impact

16· · in damages over the 2009 to 2018

17· · timeframe, right?

18· · · · · A· · ·Well, the period of my

19· · conspiracy indicator variable, right? --

20· · that's what I call the class period in my

21· · report.· That does go from January 2009 to

22· · the end of June 2018.

23· · · · · Q· · ·And you arrived at a single

24· · overcharge percentage for each pork

25· · product in the plaintiffs' class


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 489
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 48 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           490
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · definition over the course of that roughly

·3· · nine-year timeframe, right?

·4· · · · · A· · ·Not exactly.· But it's each

·5· · of -- I think it was six or eight, I have

·6· · to count, distinctive counts.· Not each

·7· · product.· But, for example, loin, ham,

·8· · right? -- shoulder, belly pork, et cetera.

·9· · · · · Q· · ·One number for the entire

10· · 2009 to 2018 timeframe, right?

11· · · · · A· · ·Correct.

12· · · · · Q· · ·We talked earlier about the

13· · plaintiffs being limited by statute to

14· · damages after June 29, 2014.

15· · · · · · · · Do you remember that

16· · discussion?

17· · · · · A· · ·I do.

18· · · · · Q· · ·Doesn't the way you have

19· · modeled the damages hold defendants

20· · accountable for damages that they are by

21· · statute from recovering?

22· · · · · A· · ·No, not at all.· I mean,

23· · damages are a function of applying only a

24· · certain time period.· So in my opinion,

25· · the proper method is to come up with an


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 490
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 49 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           492
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · wouldn't your model point to a higher

·3· · overcharge percentage over the entire 2009

·4· · to 2018 timeframe?

·5· · · · · · ·MR. POUYA:· Same objections.

·6· · · · · · ·THE WITNESS:· Well, what I

·7· · · ·have modeled is the effect of

·8· · · ·what's been alleged as one

·9· · · ·conspiracy.· I don't know any

10· · · ·economic reason to think that a

11· · · ·judicial decision regarding statute

12· · · ·of limitations would be a barrier

13· · · ·point to say, well, let's look --

14· · · ·let's mandate the conspiracy to be

15· · · ·different during that -- I will say

16· · · ·economically arbitrary threshold.

17· · · · · · ·So I think it is more

18· · · ·appropriate to look at the entire

19· · · ·conspiracy as alleged, since I am

20· · · ·assuming that is the conspiracy for

21· · · ·which liability will be found.· But

22· · · ·I do find it's important to then,

23· · · ·when I am looking at damages, to

24· · · ·only apply it to the time period of

25· · · ·commerce that the court has


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 492
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 50 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           493
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·identified.

·3· · BY MR. REISER:

·4· · · · · Q· · ·Hypothetically, if you

·5· · calculated an overcharge -- withdrawn.

·6· · · · · · · · Hypothetically if there is

·7· · was an overcharge on bacon of 80 percent

·8· · prior to June 29, 2014, and zero percent

·9· · from June 30, 2014, through the rest of

10· · 2018, wouldn't your model say that there

11· · was an overcharge, even though there

12· · wasn't any overcharge prior to June 29,

13· · 2014?

14· · · · · · ·MR. POUYA:· Objection.

15· · · ·Foundation.· Speculation.

16· · · · · · ·THE WITNESS:· I haven't -- I

17· · · ·haven't performed any analysis that

18· · · ·could confirm what you are

19· · · ·suggesting.· I am not aware of any

20· · · ·alleged conspiracy that would mean

21· · · ·those effects would be different.

22· · · · · · ·I have come up with a model to

23· · · ·answer the question of someone

24· · · ·basically says we have news,

25· · · ·liabilities found, there was a


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 493
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 51 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           494
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·single conspiracy over the time

·3· · · ·period.· That's what my model could

·4· · · ·answer.· But I haven't done an

·5· · · ·analysis that would enable me to

·6· · · ·answer the question that you have

·7· · · ·posed for the opinions that I have

·8· · · ·formed.

·9· · BY MR. REISER:

10· · · · · Q· · ·You don't need to do any

11· · analysis because it's just math, right?

12· · · · · · · · If there is an overcharge on

13· · bacon of 80 percent prior to June 29,

14· · 2014, and there's no overcharge after that

15· · period, your math comes up with zero,

16· · isn't it fair to say that your model would

17· · say there was an overcharge even though

18· · there was a zero percent overcharge after

19· · June 29, 2014?

20· · · · · A· · ·Well, you have proposed

21· · something that I don't know there's any

22· · economical theory to back up it.

23· · · · · · · · You can say, let's assume

24· · Apple pays people to use their phones in

25· · one year and then doubles their price the


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 494
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 52 of 54
   In Re - Pork Antitrust Litigation                                    Russell Mangum
                                       Highly Confidential                July 13, 2022

                                                                               495
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · next year, wouldn't that mean XYZ.                     I

·3· · wouldn't answer that question.

·4· · · · · · · · I would say, can you give me

·5· · some fleeting chance of economic reality

·6· · that would suggest that.

·7· · · · · · · · What I have done is I have

·8· · answered a question that I think would be

·9· · the question at hand, if somebody says,

10· · hey, liability's just been found for this

11· · conspiracy over this period, we need an

12· · answer for the effect of the conspiracy.

13· · So I have answered that question.

14· · · · · · · · I have not looked at

15· · something given what you have proposed in

16· · the opinions in this case, I don't know a

17· · reason why that would be logical or that

18· · would be the outcome.

19· · · · · Q· · ·Do you agree 80 is more than

20· · zero?

21· · · · · A· · ·I do agree that 80 is a

22· · higher number than zero.

23· · · · · Q· · ·You chose 2005 to 2009 as a

24· · benchmark period, right?

25· · · · · A· · ·Not really.· I would have --


   www.LexitasLegal.com/Premier             Lexitas              888-267-1200 Page 495
                                                                                          YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 53 of 54
   In Re - Pork Antitrust Litigation                                Russell Mangum
                                       Highly Confidential            July 13, 2022

                                                                           496
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · I would have gone further back.· But I --

·3· · I did choose to go as far as I could with

·4· · the data that I have.· But I didn't start

·5· · off by saying, I don't want anymore data.

·6· · I used what I was told was agreed upon

·7· · between the parties to be produced and I

·8· · used all I could.

·9· · · · · Q· · ·So having more data would

10· · have been better for you for purpose of

11· · doing your analysis?

12· · · · · A· · ·I would be interested if

13· · someone has any more information on any

14· · topic that I have opined on.· I believe I

15· · had sufficient data to run the model that

16· · I did over many, many years -- more than a

17· · decade.

18· · · · · · · · But as far as I didn't choose

19· · to not go back further than 2005, I used

20· · all that I could.

21· · · · · Q· · ·Do you agree if certain

22· · events during the benchmarking period led

23· · to lower pricing during that period, that

24· · your model would predict higher damages?

25· · · · · · ·MR. POUYA:· Objection.


   www.LexitasLegal.com/Premier             Lexitas          888-267-1200 Page 496
                                                                                      YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-16 Filed 08/24/22 Page 54 of 54
   In Re - Pork Antitrust Litigation                                    Russell Mangum
                                       Highly Confidential                July 13, 2022

                                                                               497
·1· ·DR. RUSSELL MANGUM - HIGHLY CONFIDENTIAL

·2· · · ·Foundation.· Calls for speculation.

·3· · · · · · ·THE WITNESS:· I disagree.                     I

·4· · · ·believe I have the variables which

·5· · · ·identify -- that identify relevant

·6· · · ·factors that affect price over the

·7· · · ·entire time period.· And the way my

·8· · · ·benchmark model was created was it

·9· · · ·asks, after I include those

10· · · ·variables, right? -- is there still

11· · · ·something hanging on that also

12· · · ·explains a different price during

13· · · ·the conspiracy.

14· · · · · · ·So I believe I have used the

15· · · ·right set of variables.· I am

16· · · ·not -- I don't agree.· I think if

17· · · ·you said -- I think you are

18· · · ·suggesting if there was some other

19· · · ·variable that was relevant, if I

20· · · ·used it.· Well, I need to know what

21· · · ·that is to see if it makes logical

22· · · ·sense, if it applies to the theory

23· · · ·in the case.· But I have included

24· · · ·all I am aware of that would be

25· · · ·relevant.


   www.LexitasLegal.com/Premier             Lexitas              888-267-1200 Page 497
                                                                                          YVer1f
